               Case 0:19-cv-61272-RAR Document 1-1 Entered on FLSD Docket 05/20/2019 Page 1 of 1
JS 44 (Rev. 12/12)                                 CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.) NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
I. (a)      PLAINTIFFS                                                                                       DEFENDANTS
 TELISHA J. OLIGE                                                                                            CITY OF PLANTATION, and JORDAN WOODSIDE, individually
                                                                                                             and in his capacity as a City of Plantation Police Officer
   (b) County of Residence of First Listed Plaintiff                Broward                                  County of Residence of First Listed Defendant
                                                                                                                                                           Broward
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                             (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:                       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                         THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                     Attorneys (If Known)
  Rodal Law, P.A., 5300 N.W. 33rd Ave., Suite 219, Ft. Lauderdale,
  Florida 33309. (954) 367-5308
(d) Check County Where Action Arose:                 MIAMI- DADE         MONROE     ✔ BROWARD       PALM BEACH        MARTIN       ST. LUCIE      INDIAN RIVER       OKEECHOBEE       HIGHLANDS



II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                         (For Diversity Cases Only)                                            and One Box for Defendant)
    1    U.S. Government               ✔3                        Federal Question                                                 PTF           DEF           PTF                                 DEF
            Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State                1          1     Incorporated or Principal Place          4        4
                                                                                                                                                          of Business In This State

    2    U.S. Government                   4                     Diversity                          Citizen of Another State             2            2   Incorporated and Principal Place         5        5
           Defendant                             (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State

                                                                                                    Citizen or Subject of a              3            3   Foreign Nation                           6        6
                                                                                                      Foreign Country

IV. NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                           BANKRUPTCY                OTHER STATUTES
  110 Insurance                         PERSONAL INJURY             PERSONAL INJURY                   625 Drug Related Seizure                 422 Appeal 28 USC 158       375 False Claims Act
  120 Marine                            310 Airplane                 365 Personal Injury -                of Property 21 USC 881               423 Withdrawal              400 State Reapportionment
  130 Miller Act                        315 Airplane Product             Product Liability            690 Other                                    28 USC 157              410 Antitrust
  140 Negotiable Instrument                  Liability               367 Health Care/                                                                                      430 Banks and Banking
  150 Recovery of Overpayment           320 Assault, Libel &             Pharmaceutical                                                          PROPERTY RIGHTS           450 Commerce
      & Enforcement of Judgment              Slander                     Personal Injury                                                       820 Copyrights              460 Deportation
  151 Medicare Act                      330 Federal Employers’           Product Liability                                                     830 Patent                  470 Racketeer Influenced and
  152 Recovery of Defaulted                  Liability               368 Asbestos Personal                                                     840 Trademark                   Corrupt Organizations
      Student Loans                     340 Marine                       Injury Product                                                                                    480 Consumer Credit
      (Excl. Veterans)                  345 Marine Product               Liability                              LABOR                            SOCIAL SECURITY           490 Cable/Sat TV
  153 Recovery of Overpayment                Liability             PERSONAL PROPERTY                   710 Fair Labor Standards                861 HIA (1395ff)            850 Securities/Commodities/
      of Veteran’s Benefits             350 Motor Vehicle            370 Other Fraud                       Act                                 862 Black Lung (923)             Exchange
  160 Stockholders’ Suits               355 Motor Vehicle            371 Truth in Lending              720 Labor/Mgmt. Relations               863 DIWC/DIWW (405(g))    ✘ 890 Other Statutory Actions
  190 Other Contract                        Product Liability        380 Other Personal                740 Railway Labor Act                   864 SSID Title XVI          891 Agricultural Acts
  195 Contract Product Liability        360 Other Personal               Property Damage               751 Family and Medical                  865 RSI (405(g))            893 Environmental Matters
  196 Franchise                             Injury                   385 Property Damage                   Leave Act                                                       895 Freedom of Information
                                        362 Personal Injury -            Product Liability             790 Other Labor Litigation                                               Act
                                            Med. Malpractice                                           791 Empl. Ret. Inc.                                                 896 Arbitration
       REAL PROPERTY                       CIVIL RIGHTS           PRISONER PETITIONS                       Security Act                         FEDERAL TAX SUITS          899 Administrative Procedure
    210 Land Condemnation             ✘ 440 Other Civil Rights       Habeas Corpus:                                                            870 Taxes (U.S. Plaintiff       Act/Review or Appeal of
    220 Foreclosure                     441 Voting                   463 Alien Detainee                                                            or Defendant)               Agency Decision
    230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                     871 IRS—Third Party 26      950 Constitutionality of State
                                                                     Sentence                                                                  USC 7609                    Statutes
    240 Torts to Land                   443 Housing/                    Other:
                                        Accommodations
    245 Tort Product Liability          445 Amer. w/Disabilities -        530 General                      IMMIGRATION
    290 All Other Real Property             Employment                    535 Death Penalty            462 Naturalization Application
                                        446 Amer. w/Disabilities -        540 Mandamus & Other         465 Other Immigration
                                            Other                         550 Civil Rights                 Actions
                                        448 Education                     555 Prison Condition
                                                                          560 Civil Detainee –
                                                                          Conditions of
                                                                          Confinement
                                                                                                                                                                             Appeal to
V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                    District
✔ 1 Original               2 Removed from                   3 Re-filed (See         4 Reinstated or            5 Transferred from                6 Multidistrict             Judge from      8 Remanded   from
                                                                                                                                                                                               Appellate Court
         Proceeding                                           VI below)               Reopened                   another district                  Litigation              7 Magistrate
                             State Court                                                                           (specify)                                                 Judgment

VI. RELATED/                                                 a) Re-filed Case          YES ✔ NO                 b) Related Cases               YES ✔ NO
                                      (See instructions):
RE-FILED CASE(S)
                                                         JUDGE                                                                DOCKET NUMBER
                                           Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless diversity):
VII. CAUSE OF ACTION 42 U.S.C § 1983
                                           LENGTH OF TRIAL via                    days estimated (for both sides to try entire case)
VIII. REQUESTED IN                              CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                          CHECK YES only if demanded in complaint:
     COMPLAINT:                                 UNDER F.R.C.P. 23                                                                                       JURY DEMAND:         ✔ Yes       No
ABOVE INFORMATION IS TRUE & CORRECT TO THE BEST OF MY KNOWLEDGE
DATE                                                                             SIGNATURE OF ATTORNEY OF RECORD
    May 20, 2019
FOR OFFICE USE ONLY
         RECEIPT # BBBBBBBBBBBBB                    AMOUNT BBBBBBBBBBB                    IFP BBBBBBBBBBBBB                  JUDGE BBBBBBBBBBBBBBBBBBBBBBBBBBBMAG JUDGEBBBBBBBBBBBBBBBBB

                                                                                                      Save As...                      Print                        Reset
